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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

Mohammed Sambo Dasuki (A75-348-928)

Individually and as parent and

next friend of Abubakar A. Dasuki

1284 Ballantrae Farm Dr.
McLean, VA 22101
Plaintiff

Farida S. Dasuki (A75-348-929)
1284 Ballantrae Farm Dr.
McLean, VA 22101

Plaintiff

Abubakar A. Dasuki (A75-348-930)
1284 Ballantrae Farm Dr.
McLean, VA 22101

Plaintiff

V.

Janet Reno
Attorney General of the United States
950 Pennsylvania Ave. NW
Washington, D.C. 20530

Defendant

William Carroll
District Director,
Immigration & Naturalization Service
4420 N. Fairfax Dr.
Arlington, VA 22203
Defendant

Marla J. Belvedere
Director, Office of Asylum
Immigration & Naturalization Service
1500 Wilson Blvd.
Arlington, VA 22209

Defendant

 

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CASE NUMBER 1:98CV02252
JUDGE: Harold H. Greene
DECK TYPE: Civil General

DATE STAMP: 09/21/98

COMPLAINT FOR MANDAMUS

To the Honorable Judge of the United States District Court for the District of Columbia:

Plaintiffs, Mohammed Sambo Dasuki, Farida S. Dasuki, and Abubakar Dasuki, by and

through their counsel, Lloyd F. Ukwy, in a claim for declaratory and injunctive relief, state as

follows:

 

 
 

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INTRODUCTION
1. This is a civil action brought pursuant to 8 USC §1329, and 28 USC § 1331 and 1361
to redress the deprivation of rights and privileges secured to plaintiffs by which statutes jurisdiction
are conferred, to compel defendants to perform a duty defendants owe to plaintiffs.
2. This action is brought to compel defendants and those acting under them to rule upon

an application for relief of political asylum, filed on July 8, 1997 by the plaintiffs.

PARTIES
3. Plaintiffs are all natives and citizens of Nigeria and residing in Virginia.
4. Defendant Janet Reno is and was at all times mentioned herein, the Attorney General

of the United States of America, and as such acting in the capacity as the head of the Department of
Justice, under which the Immigration and Naturalization Service falls.

S} Defendant William J. Carroll is and was at all times herein mentioned the District
Director of the Immigration and Naturalization Service in Arlington, Virginia, and is charged by law
with the statutory obligation to adjudicate the plaintiffs’ applications for political asylum.

6. Defendant Marla J. Belvedere is and was at all times herein mentioned, the director
of the Office of Asylum, Immigration and Naturalization Service in Arlington, Virginia.

FACTS

7. In July, 1997, plaintiffs applied for political asylum after plaintiff Mohammed S.
Dasuki was declared wanted, and his father, Nigeria’s foremost traditional and spiritual leader, was
deposed and detained by the Nigerian military government.

8. Plaintiffs were interviewed on August 5, 1997 by Officer Michael Knowles, an agent
of the defendants.

o: It is the practice in all asylum applications filed with the defendants to be adjudicated
upon within two (2) weeks.

10. Plaintiffs have submitted overwhelming evidence in support of their applications.

11, Plaintiffs have made several inquiries concerning their applications without success

or response from the defendants.

 
 

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12. Defendants have wilfully and unreasonably delayed in and refused to adjudicate the
applications of the plaintiffs, thereby depriving them of the right for the relief of political asylum,
and to allow that peace of mind to which plaintiffs are entitled under the Immigration and
Nationality Act (INA).

13. Defendants owe plaintiffs the duty to act upon their applications and have
unreasonably failed to perform that duty.

14. Plaintiffs have exhausted any administrative relief which may exist.

WHEREFORE, plaintiffs pray that this Honorable Court grant them relief in the
following particulars:

1. Compel the defendants and those acting under them to perform their duty to
adjudicate the plaintiffs’ applications;

2. Grant such other and further relief as this Court deems just and proper under the
circumstances; and

3. Grant attorney’s fees and costs of Court.

Respectfully submitted,

Ukwu & Associates, Chartered

Lloyd F. Ukwu Pe

Attorney for Plaintiffs Pal
514 Tenth St. NW, Ste. 600 .,6
Washington, D.C. 20004 4/
(202) 393-0070

 

Dated: September 19, 1998

 
